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IN THE UNITED STATES DISTRICT COURT 05/¢;'¢}, _
FOR THE WESTERN DISTRICT OF TENNESSEE 24 45
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UNITED STATES OF AMERICA, ) ""/""~-"if_?:.\:\}'"

Plain`tiff, §
VS. § No. 04-1210-T/An
RONALD K. TAYLOR, §

Defendant. §

and

UNITED STATES OF AMERICA, )

Plaintiff, §
VS. § No. 04-1211-T/An
BERNICE TAYLOR, § wy-

Defendant. §

ORDER

 

ln October 2004, the Court entered orders in these interrelated cases enforcing lRS
summonses Upon the defendants’ failure to comply, orders to show cause why they should
not be held in contempt were entered and a hearing was set for March 15, 2005. At the
hearing, counsel for the defendants appeared and stated that Mrs. Taylo'r had been admitted

to the hospital that morning. The Court ordered the defendants to submit Mrs. Taylor’s

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medical records to confirm the reason for their failure to appear at the hearingl d The show
cause hearing was later rescheduled for June 17, 2005.

Following the submission oers. Taylor’s medical records, the Court issued an order
holding the case against her in abeyance pending medical improvement and ordering counsel
to file monthly status reports as to her medical condition. Accordingly, Bernice Taylor is
hereby EXCUS`ED from appearing at the June 17, 2005 hearing The case against Mr.
Taylor, however, has not been held in abeyance; therefore, Ronald K. Taylor is hereby
ORDERED to appear at the hearing scheduled for June 17, 2005 and show cause Why he
should not be held in contempt for failure to obey the Court’s order enforcing the IRS

Summons. ,, .

IT IS SO ORDERED.

QZ<»MD'W

JA S D. T()DD
UNI ED STATES DISTRICT JUDGE

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DATE /

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Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:04-CV-012]1 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

